lN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

CHAD ALLEN SQUIRES, §
TDCJ-CID # 1333816, §
Plaintiff, §

§ CIVIL ACTION NO. H-O6-0243
v. §
§
CENIKOR lNC., et al., §
Defendants. §

MEMORANDUM OPINION AND ORDER

Plaintiff Chad Allen Squires, an inmate of the TeXas Department of Criminal Justice
~ Correctional lnstitutions Division, files this complaint under 42 U.S.C. § 1983, alleging
violations of his civil rights. He proceeds pro se and in forma pauperis The threshold
question is Whether plaintist complaint should be dismissed as frivolous for failure to state
a claim. After reviewing the pleadings as required by 28 U.S.C. § 1915A, the Court
concludes that plaintiff’s complaint fails to state a claim and should be dismissed for the
reasons that follow.
I. Claims

Plaintiff claims that Cenikor, lnc. (Cenikor) Was deliberately indifferent to his serious
medical needs, and that its employees Jerry Hall and Doug Richards, and Dr. Macky, the
Cenikor “house doctor,” all denied him proper medical care While he Was a client at the
Cenikor treatment facility in Deer Park, Texas. He seeks monetary damages for defendants’

negligence and failure to provide proper medical care.

II. Analysis

When a litigant proceeds in forma pauperis, the district court may scrutinize the basis
of the complaint and, if appropriate, dismiss the case without service of process if the claim
is frivolous, malicious, fails to state a claim upon which relief may be granted, or seeks
monetary relief from a defendant who is immune from such relief. 42 U.S.C. § 1997 (e)(c);
28 U.S.C. § 1915(e)(2)(B). An action is frivolous if it lacks any arguable basis in law or
fact. Nel'lzke v. Williams, 490 U.S. 319, 325 (1989); Talib v. Gl`lley, 138 F.3d 211, 213 (5th
Cir. 1998). A complaint lacks an arguable basis in law if it is based on an indisputably
meritless legal theory, such as if the complaint alleges violation of a legal interest which
clearly does not exist. Harrl's v. Hegmann, 198 F.3d 153, 156 (5th Cir. 1999).

A plaintiff seeking relief under 42 U.S.C. § 1983 must establish two essential
elements: that the conduct complained of was committed under color of state law, and that
the conduct deprived the plaintiff of rights secured by the Constitution or laws of the United
States. Hernana'ez v. Maxwell, 905 F.2d 94, 95 (5th Cir. 1990). Section 1983 provides a
remedy against state actors only. In other words, “the deprivation must be caused by the
exercise of some right or privilege created by the State or by a rule of conduct imposed by
the State or by a person for whom the State is responsible.” Lugar v. Ea'muna'son Oil Co.,
457 U.S. 922, 936 (1982). This means that the party charged with the deprivation must be
a person who may fairly be said to be a state actor, that is, one who is in fact a state official,
one who has acted with or has obtained significant aid from state officials, or one whose

conduct is otherwise chargeable to the state. Id. at 937.

ln the instant case, plaintiff names as defendants a non-governmental corporate entity
and three of its employees Cenikor and its employees provide free substance abuse and
rehabilitation treatment services to their clients, and are not state actors within the purview
of 42 U.S.C. § 1983. See Cashl`on v. KDI Facl'll'ty Services, C.A. No. 3:02-CV-2295-H
(N.D. Tex. 2002), 2002 WL 3 1757626. Private action may give rise to section 1983 liability
only when the challenged conduct is “fairly attributable to the State.” Bass v. Parkwooa'
Hospl`tal, 180 F.3d 234, 241 (5th Cir. 1999). Mere private conduct, no matter how wrongful,
falls short of the section’s reach. Rl`chard v. Hoechst Celanese Chem. Group, Inc. , 355 F.3d
345, 352 (5th Cir. 2003). That Cenikor may be a non-profit corporation providing free
rehabilitative services to the general public does not make it or its employees state actors.

Plaintiff claims that defendants nevertheless acted under color of state law by virtue
of the “public function” test. This test examines whether the private entity performs a
function which is exclusively reserved to the State; if so, a private actor’s conduct can be
attributable to the State. Cornl`sh v. Correctional Services Corp., 402 F.3d 545, 549 (5th
Cir. 2005). lt is the alleged wrongful conduct that must be examined, not the private entity
itself. Id. at 550. Here, it cannot be said that medical care and medical decisions for
individuals undergoing substance abuse treatment or rehabilitation are functions exclusively
reserved to the State. See id. Accordingly, defendants are not state actors under the “public
function” test as to the conduct made the basis of this lawsuit, Absent a showing that
plaintiff was harmed as the result cf state action, the complaint fails to state a claim under

section 1983 as a matter of law. Accordingly, plaintist complaint is subject to dismissal

III. Conclusion

This lawsuit fails to state a claim under 42 U.S.C. § 1983, and is DISMISSED
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii). Petitioner’s motion to proceed in forma pauperis
(Docket Entry No. 2) is DENIED AS MOOT. Any and all other pending motions are
DENIED AS MOOT.

The Clerk will provide a copy of this order to the parties.

Signed at Houston, Texas, on this twasz day of January, 2006.

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KEl\ll{/P. ELLISYJN
UNITED sTATES DISTRICT JUDGE

